                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 1 of 9 Page ID #:289

                                                                                                           Note changes made by the Court at ¶¶ 2,
                                                                                                           6(c), 13, 14, 18, 20, 21.
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                                                                 William G. Sorkin, Esq. (SBN 317652)
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TORRES & BRENNER
                   301 East Colorado Boulevard, Suite 614




                                                              12 Attorneys for Defendants County of Los Angeles, a public entity and Carla Brown,
                        Pasadena, California 91101




                                                                 a public employee
                                                              13
                              (626) 792-3175




                                                              14                       UNITED STATES DISTRICT COURT
                                                              15                     CENTRAL DISTRICT OF CALIFORNIA
                                                              16
                                                              17 HANI ALHAMBLY,                            Case No. 2:20-cv-01937-VAP-KES
                                                              18              Plaintiff,                   [U.S. Magistrate Judge Karen E. Scott]
                                                              19        vs.                                DISCOVERY MATTER
                                                              20 LOS ANGELES COUNTY, CARLA
                                                                                                           PROPOSED PROTECTIVE
                                                              21 BROWN, and DOES 1-25, inclusive,          ORDER
                                                              22              Defendants.
                                                                                                           Trial Date:   None
                                                              23
                                                              24
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                                                              28
                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                   2:20-cv-01937-VAP-KES
                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 2 of 9 Page ID #:290




                                                               1         The stipulation of Plaintiff Hani Alhambly and Defendants County of Los
                                                               2 Angeles, a public entity, and Carla Brown, a public employee through their counsel
                                                               3 having been received by this Court, and GOOD CAUSE APPEARING:
                                                               4         IT IS ORDERED THAT:

                                                               5         1.     This Order does not require any party to produce or disclose records.

                                                               6 This Order addresses the effect of designating records, testimony, documents, and
                                                               7 electronically stored information as “confidential material.”
                                                               8         2.     Any party may designate qualifying documents and other evidence as

                                                               9 “confidential material” by including such a designation in their disclosure, or at a
                                                              10 deposition.
                                                                         3.     Confidential material shall be used solely in connection with the
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                                                              11
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                                                              12 preparation and trial of the case, Case No. 2:20-cv-01937-VAP-KES, or any related
                        Pasadena, California 91101




                                                              13 appellate proceeding and not for any other purpose, including social media, law
                              (626) 792-3175




                                                              14 firm websites, or other litigation.
                                                              15       4.    Material designated as “confidential” under this Protective Order, as

                                                              16 well as the information contained therein, and any summaries, copies, abstracts, or
                                                              17 other documents derived in whole or in part from material designated as
                                                              18 confidential (hereinafter “confidential material” or “confidential information”)
                                                              19 shall be used solely for the purpose of litigating this action, and for no other action
                                                              20 or purpose.
                                                              21       5.    Confidential material may not be disclosed except as provided in

                                                              22 paragraph 6.
                                                              23       6.     Confidential material may be disclosed only to the following persons:

                                                              24                (a)   Counsel for any party, and any party to this litigation;

                                                              25                (b)   Paralegal, stenographic, clerical, and secretarial personnel

                                                              26 regularly employed by counsel referred to in (a);
                                                              27             (c) Court personnel, including stenographic reporters engaged in

                                                              28 such proceedings as are necessarily incidental to preparation for the trial of this
                                                                                                            -2-
                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                        [2:20-cv-01937-VAP-KES]
                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 3 of 9 Page ID #:291




                                                               1 action, all of whom are not subject to any part of this Order;
                                                               2                (d)    Any outside expert or consultant retained in connection with this
                                                               3 action, and not otherwise employed by either party; and,
                                                               4                (e)    Any “in-house” expert designated by either party to testify at
                                                               5 trial in this matter. Nothing in this Order is intended to prevent officials or
                                                               6 employees of County or other authorized government officials from having access
                                                               7 to the documents if they would have had access in their normal course of their job
                                                               8 duties.
                                                               9         7.    Each person to whom disclosure is made, with the exception of those
                                                              10 identified in paragraph 6 who are presumed to know the contents of the Protective
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                                                              11 Order, shall, prior to the time of disclosure, be provided a copy of this Order by the
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                                                              12 person furnishing him/her such material, and shall agree on the record or in writing,
                        Pasadena, California 91101




                                                              13 that he/she has read the Protective Order, and that he/she understands the provisions
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                                                              14 of the Protective Order. Such person must also agree in writing to be subject to the
                                                              15 jurisdiction of the United States District Court, Central District of California, with
                                                              16 respect to any proceedings relating to enforcement of this Order, including without
                                                              17 limitation, any proceedings for contempt. Unless made on the record in this
                                                              18 litigation, counsel making the disclosure to any person described above shall retain
                                                              19 the original executed copy of said agreement until final termination of this
                                                              20 litigation. (See Appendix “A”). The executed agreement must be provided to all
                                                              21 other counsel within five (5) court days of counsel’s receipt of the agreement,
                                                              22 except when the person to whom disclosure is made is an expert witness. In that
                                                              23 case, the executed agreement must be provided to all other counsel at the time of
                                                              24 expert disclosures.
                                                              25         8.     Designation in conformity with this Protective Order requires: For
                                                              26 information in documentary form (apart from transcripts of depositions or other
                                                              27 pretrial or trial proceedings), Defendants and Plaintiff shall affix the legend
                                                              28 “CONFIDENTIAL” at the bottom of each page that contains protected material.
                                                                                                             -3-
                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                        [2:20-cv-01937-VAP-KES]
                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 4 of 9 Page ID #:292




                                                               1 For information contained on a CD, DVD, or other similar storage device,
                                                               2 Defendants and Plaintiff shall affix the legend “CONFIDENTIAL'” on the label.
                                                               3             9.    Confidential material must be stored and maintained by counsel for
                                                               4
                                                                   Plaintiff at a location and in a secure manner that ensures that access is limited to
                                                               5
                                                                   the persons authorized under this Protective Order.
                                                               6
                                                                             10.   Confidential material disclosed to any party shall be clearly marked by
                                                               7
                                                                   receiving counsel and maintained by counsel with the following or similar legend
                                                               8
                                                                   recorded upon it in a way that brings its attention to a reasonable examiner:
                                                               9
                                                                             CONFIDENTIAL: THESE DOCUMENTS ARE SUBJECT TO
                                                              10
                                                                             THE TERMS AND CONDITIONS OF A PROTECTIVE ORDER,
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                                                                             CASE NO. 2:20-CV-01937-VAP-KES
                   301 East Colorado Boulevard, Suite 614




                                                              12
                                                                             11.   Each person to whom disclosure is made shall not duplicate any
                        Pasadena, California 91101




                                                              13
                              (626) 792-3175




                                                                   confidential information except for working copies and for filing with the Court.
                                                              14
                                                                             12.   Testimony taken at a deposition may be designated as confidential by
                                                              15
                                                                   making a statement to that effect on the record at the deposition. Arrangements
                                                              16
                                                                   shall be made with the court reporter transcribing the deposition to separately bind
                                                              17
                                                                   such portions of the transcript containing information designated as confidential,
                                                              18
                                                                   and to label such portions appropriately.
                                                              19
                                                                             13.   If any information and/or documents which are the subject of this
                                                              20
                                                                   Protective Order are presented to this or any other court in any other manner prior
                                                              21
                                                                   to the time of trial, said information and/or documents shall be lodged with an
                                                              22
                                                                   application to file under seal in compliance with Central District Local Rule 79-5.1
                                                              23
                                                                   et seq.
                                                              24
                                                                             14.   This order does not govern trial.
                                                              25
                                                                             15.   Within 60 days of the conclusion of the trial and of any appeal or upon
                                                              26
                                                                   termination of this litigation, all confidential material received by any party,
                                                              27
                                                                   including Plaintiff Hani Alhambly, under the provisions of this Order, and copies
                                                              28
                                                                   thereof, including ESI, digital or electronic, shall be returned to opposing counsel.
                                                                                                              -4-
                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                         [2:20-cv-01937-VAP-KES]
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                                                               1         16.    If any party is served with a subpoena or an order issued in other
                                                               2 litigation that would compel disclosure of any information or items designated in
                                                               3 this action as “confidential,” such party must notify opposing counsel in writing (by
                                                               4 e-mail and U.S. Mail, if possible) immediately and in no event more than three (3)
                                                               5 days after receiving the subpoena or order. Such notification must include a copy of
                                                               6 the subpoena or court order.
                                                               7         17.    If any party learns that by inadvertence or otherwise, confidential
                                                               8 material has been disclosed to any person or in any circumstance not authorized
                                                               9 under this Protective Order, such party much notify all parties of the unauthorized
                                                              10 disclosure, use their best efforts to retrieve all copies of the confidential material,
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                                                              11 and inform all person or persons to whom the unauthorized disclosure was made of
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                                                              12 the terms of this Order, and request that such persons execute the Confidentiality
                        Pasadena, California 91101




                                                              13 Agreement (Appendix A).
                              (626) 792-3175




                                                              14         18.    Nothing in this Protective Order shall be construed as a waiver of any
                                                              15 privilege (including work product) that may be applicable to any document or
                                                              16 information. Further, by stipulating to the entry of this Protective Order, the parties
                                                              17 do not waive any right they otherwise would have to object to disclosing or
                                                              18 producing any information or item on any ground not addressed in this Protective
                                                              19 Order. Similarly, the parties do not waive any right to object on any ground for use
                                                              20 as evidence of any of the material covered by this Protective Order.
                                                              21         19.    Further, this Protective Order is entered solely for the purpose of
                                                              22 facilitating the exchange of documents, material, and information between the
                                                              23 parties to this action without involving the Court unnecessarily in the process.
                                                              24 Neither this Protective Order, nor the production of any document, material, or
                                                              25 information, shall be deemed to have the effect of an admission or waiver by either
                                                              26 party, or of altering the confidentiality or non-confidentiality of any such document,
                                                              27 material, or information, or altering any existing obligation of any party or the
                                                              28 absence thereof.
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                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                         [2:20-cv-01937-VAP-KES]
                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 6 of 9 Page ID #:294




                                                               1         20.   The Court shall have jurisdiction over the parties, their counsel and all
                                                               2 persons to whom confidential information has been disclosed for the purpose of
                                                               3 enforcing terms of this Protective Order, redressing any violation thereof, and
                                                               4 amending or modifying the terms as the Court may deem appropriate.
                                                               5         21.   The foregoing is without prejudice to the right of any party: (a) To
                                                               6 move the Court for a further protective order relating to confidential material or
                                                               7 relating to discovery in this litigation; (b) To move the Court for an order removing
                                                               8 the confidential material designation from any documents; and (c) To move the
                                                               9 Court for an order compelling production of documents or modification of this
                                                              10 Order or for any order permitting disclosure of confidential material beyond the
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                                                              11 terms of this Order. Per Local Rule 37 or Judge Scott’s procedures for telephonic
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                                                              12 discovery motions.
                        Pasadena, California 91101




                                                              13         22.   Nothing in this Protective Order abridges the right of any person to
                              (626) 792-3175




                                                              14 seek its modification by the Court in the future.
                                                              15 IT IS SO ORDERED:
                                                              16
                                                                   Dated: October 15, 2020
                                                              17                                           Honorable Karen E. Scott,
                                                                                                           United States Magistrate Judge
                                                              18
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                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                       [2:20-cv-01937-VAP-KES]
                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 7 of 9 Page ID #:295



                                                                                                    APPENDIX “A”
                                                               1
                                                               2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

                                                               3         I have read and understand the Stipulation for protective Order and

                                                               4 Protective Order of the United States District Court, Central District of California,
                                                               5 entered on the ___ day of ______________, 2020, in the case of Hani Alhambly v.
                                                               6 Los Angeles County, et al., Case No. 2:20-cv-01937-VAP-KES.
                                                               7       A copy of the Stipulation for Protective Order and Protective Order has been

                                                               8 delivered to me with my copy of this Acknowledgment and Agreement to Be
                                                               9 Bound (hereinafter “Confidentiality Agreement”). I agree to be bound by all the
                                                              10 terms of this Confidentiality Agreement.
                                                                       I further agree to be bound by all the terms of the Stipulation for Protective
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                                                              11
                   301 East Colorado Boulevard, Suite 614




                                                              12 Order and Protective Order and hereby agreed not to use or disclose the confidential
                        Pasadena, California 91101




                                                              13 information or material (as defined by that Order) disclosed to me, except for
                              (626) 792-3175




                                                              14 purposes of this litigation as required by the Stipulation for Protective Order and
                                                              15 Protective Order. I further agrees and attest to my understanding that a breach of
                                                              16 this Confidentiality agreement may be directly actionable, at law and equity, and
                                                              17 may constitute a violation of the Stipulation for Protective Order and Protective
                                                              18 Order, and I further agreed that in the event I fail to abide by the terms of the
                                                              19 Stipulation for Protective Order and Protective Order, or if I disclose or make use of
                                                              20 any confidential information acquired during this litigation, I may be subject to
                                                              21 civil sanctions, including sanctions by way of contempt of court, imposed by the
                                                              22 Court for such failure. I further agree to submit to the jurisdiction of the United
                                                              23 States District Court, Central District of California, for the purpose of enforcing the
                                                              24 ///
                                                              25 ///
                                                              26 ///
                                                              27 ///
                                                              28 ///
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                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                       [2:20-cv-01937-VAP-KES]
                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 8 of 9 Page ID #:296




                                                               1 terms of this Confidentiality Agreement and Protective Order, Order, even if such
                                                               2 enforcement proceeding occur after termination of this action.
                                                               3
                                                               4 Dated: _____________________              ______________________________
                                                                                                           Signature
                                                               5
                                                               6                                           Name (Printed)
                                                               7
                                                                                                           Street Address
                                                               8
                                                               9
                                                                                                           City             State         Zip
                                                              10
                                                                                                           ______________________________
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                                                              11
                                                                                                           Occupation or Business
                   301 East Colorado Boulevard, Suite 614




                                                              12
                        Pasadena, California 91101




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                              (626) 792-3175




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                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                     [2:20-cv-01937-VAP-KES]
                                                            Case 2:20-cv-01937-VAP-KES Document 49 Filed 10/15/20 Page 9 of 9 Page ID #:297




                                                               1                            CERTIFICATE OF SERVICE
                                                               2 Case Name:           Hani Alhambly v. Los Angeles County, et al.
                                                               3 Case No.:            2:20-cv-01937-VAP-KES
                                                               4        I am employed in the county of Los Angeles, State of California. I am over
                                                                 the age of 18 and not a party to the within action. My business address is 301 East
                                                               5 Colorado Boulevard, Suite 614, Pasadena, California 91101.
                                                               6        I hereby certify that on October 14, 2020, I electronically filed the following
                                                                 document(s) with the Clerk of the Court by using the CM/ECF system:
                                                               7
                                                                        PROPOSED PROTECTIVE ORDER
                                                               8
                                                                        Participants in the case who are registered CM/ECF users will be served by
                                                               9 the CM/ECF system.
                                                              10        I declare under penalty of perjury that the foregoing is true and correct. This
                                                                 certificate was executed in Alhambra, California on October 14, 2020.
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                                                              11
                   301 East Colorado Boulevard, Suite 614




                                                              12
                                                                                                           /s/ Idalia G. Guzman
                        Pasadena, California 91101




                                                              13                                                 Idalia G. Guzman
                              (626) 792-3175




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                                                                   [PROPOSED] ORDER RE: PROTECTIVE ORDER                      [2:20-cv-01937-VAP-KES]
